Case 1:18-cv-02548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 1 of 29 Page|D #: 7

EXHIBIT A

PLEADINGS THAT ASSERT CAUSES OF ACTION AND OTHER FILINGS

1. Plaintiffs’ Complaint
2. Certiflcate of ISSuance of Summons and Summons Referenced Therein
3. Allstate’S Appearance

4. Court Docket

Case 1:18-cv-O2548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 2 of 29 Page|D #: 8

STATE OF iNDlANA

49D01 -1 807-F‘L-028866
Marlon Super|or Court. Clvi| Dtv|s!on 1

iN THE MARION SUPER|OR

\/\./

Fllad: 7l20/2018 4:18 PM
Myla A. E|dridga

Clerk

Mar!on County, indiana

 

SS: COMMERCIAL COURT
COUNTY OF MAR|ON ) CAUSE NO.
VECTREN CGRPORATION and
SOUTHERN iNDlANA GAS &
ELECTR!C COMPANY,
P|aintifi"s,

V.

ASSOCIATED BLECTRIC & GAS

iNSU`RANCE SERVICES LLM|TED, and
ALLSTATE iNSURANCE COMPANY,

as successor~in-interest to NORTHBROOK EXCESS
AND SURPLUS [NSURANCE COMPANY

f/k/a NORTHBROOK lNSURANCE COMPANY,

Defendants.

APPEARANCE BY ATTQRNEY§ IN CIVIL CASE

VVVVVVV`/Vvv\/VVVV

l. The undersigned attorney and all attorneys listed on this form now appear in this case for
Initiating Parties Vectren Corporation and Southern indiana Gas & Electric Compar\y.

2. App|icab|e attorney information for service a

information as required by Triai Ru|es 3.| and 77(B) is as follows:

George M. P|ews Attorney No.: 6274-49
gplews@psrb.oom

Gregory M. Gotwa|d Attomey No.: 2491 i-49
ggotwaid@psrb.com

Stcven A. Baldwin Attorney No.: 34498-49
sbaldwin@psrb.com

PLEws SHADLEY RACHER & BRAuN LLP
1346 North Delaware Street
indianapolis, i`N 46202

(317) 637-0700

Fax(3l7)637~0710

s required by Tria| Rule 5(B)(2) and for case

 

 

 

Case 1:18-cv-O2548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 3 of 29 Page|D #: 9

Jeffrey D. Clat`lin Attorney No.: 15136-49
jclatlin@psrb.com

PLEWS SHADLEY RACHER & BRAUN LLP
53732 Generations Drive

South Bend, IN 46635

(574) 273-1010

Fax (574) 271-2050

3. These attorneys will not accept service by fax.

4. There are not now, nor have there been within the last twelve months, any pending
related cases.

5. This appearance form has been served on all parties and/or counsel.

6. The attorneys listed herein have reviewed and discussed the Commitment to Respect
and Civility with their clients and agree to aspire to its goals.

_/_s/ Je/i$‘ev D. Claflin
Attorneys for Plaintit`fs Vectren Corporation and
Southern Indiana Gas and Electric Company

George M. Plews (Atty. No. 6274-49)
Gregory M. Gotwald (Atty. No. 249l l~49)
Steven A. Baldwin (Atty. No. 34498-49)
PLEWS SHADLEY RACHER & BRAUN LLP
l346 North Delaware Street

lndianapolis, IN 46202-2415

(317) 637-0700

.left`rey D. Claflin (Atty. No. 15136-49)
PLaws SHADLEY RACHF.R & BRAUN LLP
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South Bend, IN 46635

(574) 273-1010

 

Case 1:18-CV-O2548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 4 of 29 Page|D #: 10

49001-1807-PL-028866

 

STATE OF IN`DIANA ) lN THE MARlCN SUPER.lOR
)SS: COMMERCIAL COURT
COUNTY OF MARION ) CA USE NO.
VECTREN CORPORAT|ON and SOUTHERN lNDlANA )
GAS & ELECTR|C COMPANY, )
)
Plaintit’t`s, )
)
v, )
)
ASSOCIATED ELECTRIC & GAS lNSURANCE )
SERV|CES LlMlTED, and ) 4
ALLSTATE lNSURANCE COM_PANV, )
as successor-in-interest to NORTHBROOK EXCESS AND )
SURPLUS lNSU'RANCE COMPANY f/k/a NORTHBROOK )
iNSURANCE COMPANY, )
)
Dei`endants. )

NOT!CE IDENTIFYING COM_MERCIAL COURT DOCKET CASE

The undersigned states that this case is a Commercial Court Docket Case eligible for l
assignment to the Commereial Court Docket pursuant to Rule 2 of the interim Commercial Court
Rules. Pursuant to Rule 4 of the interim Commercial Court Rulcs, the undersigned requests the

Clerk of Court assign this case to the Commercial Court Docket.

_/_sj Jefi$‘ev D. C/aflin
Attomeys for Vectren Corporation and Southern
indiana Gas & Electric Company

George M. Plews (Atty. No. 6274-49)
Gregory M. Gotwald (Atty. No. 24911~49)
Steven A. Baldwin (Atty. No. 34498-49)
PLews SHADLEV RACHER & BRAUN LLP
1346 North Delaware Street

lndianapolis, l'N 46202-2415

(31'/`) 63 7-0700

 

Jet`t`rey D. Clat`lin (Atty. No. 15136~49)
PLEWS SHADLEY RACHER & BRAUN LLP
53732 Generations Drive

South Bend, IN 46635

(574) 273-1010

 

 

Case 1:18-CV-O2548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 5 of 29 Page|D #: 11

49001 -1807-PL~028866 F"»df 115%°;§;;;3;;§
Marion Superior Court, Civ|i Division 1 Cierk

Marion County, indiana

STATE OF iNDiANA ) iN THE MARION SUPE.R]OR
) SS: COMMERC[AL COURT
COUNTY OF MARION ) CAUSE NO.

 

VECTREN CORPORATION and
SOUTHERN iNDiANA GAS &
ELECTRlC COMPANY,

Plaintiti`s,
v.

ASSOCIATED ELECTRiC & GAS

iNSURANCE SERViCES LlMiTED, and
ALLSTATE iNSURANCE COMPAN'Y,

as successor¢in-interest to NORTHBROOK EXCESS
AND SURPLUS iNSURANCE COMPANY

f/k/a NORTHBROOK lNSURANCE COMPAN’Y,

VVWVVVVVV\/\/\./\/\/VV

Dei`endants.
COMPLAINT FOR DAMAGES AND DECLARATORY R.ELIEF

Piaintih"s Vectren Corporation and Southem indiana Gas & Eiectric Company
(“SIGECO”) (coilectively, “Vectren”), for their complaint against Associated Eiectric & Gas
Insurance Services Limited (“AEGIS”) and Aiistate insurance Company as successor-in-interest
to Northbrook Excess and Surpius insurance Company f/k/a Northbrook insurance Company
(“Aiistate") (coilectiveiy, “Det`endant lnsurers") state as foilows:

i. 'i`his is a compiaint for declaratory relief and damages Vectren seeks a
determination of the scope of its rights under certain insurance policies sold to it by Defendant
lnsurcrs withdrespect to claims arising from Vectren’s coal combustion residue (“CCR”) ponds at
Vectnen’s A.B. Brown and F.B. Cuiiey generating stations in southern Indiana, together with its

landfill at the F.B. Cuiiey station.

 

 

Case 1:18-CV-O2548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 6 of 29 Page|D #: 12

2. Vectren and SlGECO are indiana corporations with their principal place of
business in indiana SiGi:`,CO is a wholly-owned subsidiary of Vectren.

3¢ AEGIS is a national or multi~nationai insurance company headquartered in
Bermuda, with its principal place of business in Berrnuda.

4. Alistate is a national or multi-nationai general liability insurance company
headquartered, with its principal place of business in illinois.

5. 'i`his Court hasjurisdiction over each cf the Defendant insurers because they are,
or have been, licensed to do business in indiana and/or have done business in indiana on a
regular basis.

6. in addition, this Court hasjurisdiction over both of the Defendant insurers
because each sold insurance policies to Vectren with respect to Vectren’s properties and/or risks
located in indiana

7. Venue is proper in Marion County under Rule 75 of the indiana Ruies of Triai
Procedure because the Det`endant insurers are subject to service through the indiana Department
of insurance and this claim arises, in part, out of actions taken by the indiana Department of
Environmentai Management (“IDEM”). Both agencies are located in Marion County.

8. Specifically, venue is proper in the Marion County Commerciai Court, pursuant
to interim Rule 2(E)(12) of the interim Commerciai Court Ruies for the indiana Commerciai
Courts Pilot Project, concerning “[c]ommerciai insurance contracts, including coverage
disputes.” Pursuant to Interim Commerciai Court Rule 4(A), Vectren has filed a “Notice
identifying Commerciai Court Doci<et Case” contemporaneously with the filing of this

Compiaint.

Case 1:18-CV-O2548-RLY-1\/|.]D Document 1-1 Filed 08/17/18 Page 7 of 29 Page|D #: 13

9. Claims have been made against Vectren by lDEM and others that Vectren is
liable for the remediation of the coal combustion residue (“CCR") pond at and around Vectren’s
A.B. Brown generating station in Pcsey County, lndiana, and for the CCR pond and landfill at
Vectren’s F.B. Cuiiey generating station in Warrick County, lndiana. These claims are hereafter
referred tc as the “Underiying Claims.” The A.B. Brown generating station and the operation of
the CCR pond at that location have been in operation since 1978. The F.B. Cuiiey generating
station, its CCR pond and landfill have been in operation since the 19605. Vectren has incurred,
or will incur, significant sums defending against the Underlying Claims and/or for the cleanup
and response costs at these sites.

lO. Def`endant AEG|S sold Vectren first-level excess general liability “occurrence-
based” insurance policies between 1980 and 1986. These policies obligate AEGlS to indemnify
Vectren against the Underlying Claims. These AEGlS policies include, but may not be limited
to, policy l98A, 198 NJ, 198 ANJ, and 198 CNJ.

1 l. Det`endant Allstate sold Vectren higher-level excess general liability “occunence-
based" insurance policies between 1979 and 1982, each of which obligate Allstate to indemnify
Vectren with respect to the Underlying Claims. These Allstate/Northbrook policies inciude, but
may not be limited to, policy 63005137, 63006|47, 63007284 and 63008289.

12. Copies of the aforementioned policies in Vectren’s possession will be voluntarily
produced to the Det`endant insurers consistent with the indiana Commerciai Courts l-iandbook or
otherwise should this matter not be assigned to the Commerciai Court.

13. As to all the poiicies, the required premiums have been paid in fuii, and all other

relevant conditions to coverage have been satisfied, excused cr waived.

 

Case 1:18-CV-O2548-RLY-1\/|.]D Document 1-1 Filed 08/17/18 Page 8 of 29 Page|D #: 14

i4. An actual controversy exists as to the nature and scope of Vectren’s rights and the
Defendant lnsurers’ obligations under these policies of insurance regarding the Underlying
Ciaimst

15. Declaratory relief will resolve the dispute between the parties and determine their
respective rights and obligations

WHEREFOR_E, Vectren prays that the Court enterjudgment against the Defendant
insurers and in favor of Vectren:

a. pursuant to lnd. Code §34.-14-1 et. seq, declaring the rights and obligations
of the parties under the policies sold by the Defendant insurers to Vectren with respect to

the claims and liabilities alleged against Vectren in the Underlying Claims;

b. requiring the Defendant insurers to indemnify Vectren against the
Underlying Claims;

c. for ali other compensatory damage to which Vectren may be entitied;

d. for reasonable attorney’s fees incurred in this action; and

e. for such other and further relief as this Court may deem proper.

_Ls_/ Je/?"rev D. Cla/Iin
Attomeys for Plaintiffs Vectren Corporation and
Southem indiana Gas and Electric Company

 

Case 1:18-CV-O2548-RLY-1\/|.]D Document 1-1 Filed 08/17/18 Page 9 of 29 Page|D #: 15

George M. Plews (Atty. Nc. 6274-49)
Gregory M. Gotwald (Atty. No. 2491 1-49)
Steven A. Baidwin (Atty. No. 34498-49)
PLEWS SHADLEY RACHER & BRAUN LLP
1346 North Deiaware Street

indianapolis, iN 46202-24 l 5

(317) 637-0700

.let`frey D. Ciafiin (Atty. No. 15136-49)
PLEws SHADLEY RACHER & BRAUN LLP
53732 Generations Drive

South Bend, iN 46635

(574) 273-10l0

 

Case 1:18-CV-O2548-RLY-1\/|.]D Document 1-1

sTATI~: or iNDiANA )
) ss;
COUNTY oF MARION )

VECTREN CORPORATION and
SOUTHERN INDIANA GAS &
ELECTRIC COMPANY,

Plaintiffs,
v.
AI`*P/\f`iTA"FT"¥'\ \"Y Y"f“"l"“`[f` n DAO
f\DDU\_/l/“\ l EL} DL/E/\/ l I\i\_/ OL U/‘\D

INSURANCE SERVICES Lli\/iiTED,
and ALLSTATE lNSURANCE CGMPANY,

as successor-in-interest to NORTHBROOK EXCESS

AND SURPLUS iNSURANCE COMPANY

i`/k/a N()R']`HBR()OK lNSURANCE COMPANY,

Defendants.

Filed 08/17/18 Page 10 of 29 Page|D #: 16

lN THE MARION SUPERIOR
CC)MMERClAL COURT
CAUSE NO. 49D01-1807~PL~028866

\_/\/\./'W\./V\/\_/\/VVV\_/\./\_/\_/

CERTIFICATE OF ISSUANCE OF SUMMONS

1 certify that l served summonses with copies of the complaint on the following
Defendants via Certif`icd l\/Iaii this 23rd day of July, 201 81

Allstate insurance Company

c/o CT Corporation System

150 W. l\/iarket Street, Suite 800

lndianapoiis, iN 46204-2814

Certiiied Maii No. 7015 0640 0003 6358 6138

Associated Eiectric & Gas insurance Services Limitcd
l\/Ianaging General Agency

34 Exchange Place, Harborside Plaza Two

Jersey City, NJ 073()2

Certii`ied Maii No. 7015 0640 0003 6358 6121

Associated Eiectric & Gas insurance Services Limited
c/o LeBoeuf, Lamb, Leiby & l\/lacRae

140 Broadway

New York, NY 100()5
Certiiied i\/Iail No. 7015 0640 0003 6358 6114

Filed: 7/23/2018 5:07 PM
Myla A. E|dridge

C|erk

Marion County, indiana

Case 1:18-cV-02548-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 11 of 29 Page|D #: 17

Associated Electric & Gas insurance Services Limited
c/o Drinker Biddle

1 177 Avenue ofthe Americas F141

New York, NY 10036-2714

Certified Mail No. 7015 0640 0003 6358 6107

Associated Electric & Gas insurance Services Limited
1 Meadowlands Plaza

East Rutherford, NJ 07073

Certified Maii No. 7015 0640 0003 6358 6091

George i\/I. Plews (Atty. No. 6274-49)
Gregory M. Gotwald (Atty. No. 2491 1~49)
Steven A. Baidwin (Atty. No. 34498-49)
PLEWS SHADLEY RACHER & BRAUN LLP
1346 North Delaware Street

indianapolis, iN 46202-2415

(317) 637-0700

chfrey D. Claliin (Atty. No. 15136-49)
PLEWs SHADLEY RACHER & BRAUN LLP
53732 Generations Drive

South Bend, iN 46635

(574) 273»1010

/s/ Jeffrev D. Clafll`n
Attomeys for Plaintil`fs Vectren Corporation and
Southern indiana Gas and Electric Company

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 12 of 29 Page|D #: 18

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My|a A. E|dridge
Marion Superior Court, Civi| Division 1 C|erk
Marion County, indiana
S'i`ATE Oi" iNDiANA ) iN 'i`HE MARION SUPERIOR
) SS: COMMERCIAL COURT
COUNTY OF i\/IARION ) CAUSE NO.

 

VECi`REN CORP()RATION and )
SOUTHERN iNDiANA GAS & )
ELECTRIC COMPANY, )
)
Plaintii`fs, )
)
v. )
)
ASSOCIATED ELECTRlC & GAS )
lNSURANCE SERVICES LiMiTED, and )
ALLSTATE iNSURANCE COMPANY, )
as successor-in-interest to NORTHBROOK EXCESS )
AND SURPLUS iNSURANCE COMPANY )
f/k/a NOR'i`HBROOK lNSURANCE COMPANY, )
)
Defcndants. )

TO DEFENDANT: (Name) Associated Electric & Gas insurance Services Limited

 

Address 1 Meadowlands Plaza
East Rutherford, New Jersey 07073

 

 

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. it
also states the relief sought or the demand made against you by the plaintiff

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney, within twenty (20) days, commencing the day after you receive this Summons, (or twenty-
three (23) days if this Summons was received by mail), or ajudgment by default may be rendered against
you for the relief demanded by plaintiff

if you have a claim for relief against the plaintiff arising from the same transaction or occurrence,
you must assert it in your written answer.

if you need the name of an attorney, you may contact the indianapolis Bar Association Lawyer
Referral Service (269~2222), or the i\/Iarion County Bar Association Lawyer Referral Service (634»3950).

7/23/2018 *»~i,¢ §§ ,1 .; ~y,,,

< 'LM .. , ».` . ; ". /
,»_E~ `, ’ t <, pin `M

Dated:

 

 

Clerk; Marion County Courts
(The following manner of Service of Summons is hereby designated.)

X Registered or Certitied i\/iail
Service on individual
Service at place of employment, to wit:
Private Service
Attomeys/or P!aimi/_Ys

/s/ Jef/`“)`~ey D. C/aflin Plews Shadley Racher & Braun
1346 North Delaware Street
indianapolis, indiana 46202-2415
(317) 637-0700 Phone; (317) 637-0710 Fax

 

 

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 13 of 29 Page|D #: 19

SHERIFF'S RETURN ON SERVICE OF SUMMONS

i hereby certify that l have served this summons on the day of ,
2018.

(1) By delivering a copy ofthe Summons and a copy ofthe complaint to the
defendant, .
(2) By leaving a copy ofthe Summons and a copy ofthe complaint at
, which is the dwelling place or usual place of abode of
and by mailing a copy of said summons to
said defendant at the above address
(3) Other service or remarks:

 

 

 

 

Sheriffs Cost Sheriff
CLERK'S CERTIFICATE OF MAILING
i hereby certify that on the day of , 2018 i mailed a copy of

this Summons and a copy of the complaint to the defendant, , by
certified mail, requesting a return receipt, at the address furnished by the plaintiff

 

 

Clerk, i\/Iarion County Superior Court

Dated: , 2018. By:

 

Deputy
RETURN ON SERVICE OF SUMMONS BY MAIL

i hereby certify that the attached return receipt was received by me showing that the

 

 

 

Summons and a copy ofthe complaint mailed to defendant was
accepted by the defendant on the day of , 2018.

l hereby certify that the attached return receipt was received by me showing that the

Summons and a copy of the complaint was returned not accepted on the day of
, 2018.

i hereby certify that the attached return receipt was received by me showing that the
Summons and a copy ofthe complaint mailed to defendant Was
accepted by on behalf of said defendant on the day of

, 2018.

 

Clerk, l\/iarion County Superior Court

By:

 

Deputy

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 14 of 29 Page|D #: 20

49D01_1807_PL_028866 Fiied: 7/20/2018 4:18 PM
Myia A. E|dridge
Marion Superior Court, Civii Division 1 Cierk
Marion County, indiana
STA'i`E OF lNDlAN/\ ) lN THE l\/l/~\RlON SUPERIOR
)SS: COMMERCiAL COURT
couN'rY or MARioN ) CAusE No.

 

VECTREN CORPORATION and
SOUTHERN iNDiANA GAS &
ELECTRIC COMPANY,

Plaintiffs,
v.

ASSOCIATED ELECTRIC & GAS

lNSURANCE SERVICES Lll\/lii`ED, and
ALLSTATE iNSURANCE COMPANY,

as successor-in~intcrest to NORTHBROOK EXCESS
AND SURPLUS iNSURANCE COMi’ANY

f/i</a NORTHBROGK iNSURANCE COMPANY_.

\/\./\/\./\/\/\./V\./V\/\_/VVVV

Defendants.

TG DEFENDANT: (Name) Associated Electric & Gas insurance Services Limited
Address c/o Drinker Biddie
1 177 Avenue of the Americas Fl 41
New York, NY 10036~2714

 

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. it
also states the relief sought or the demand made against you by the plaintiff

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney, within twenty (20) days, commencing the day after you receive this Summons, (or twenty-
three (23) days if this Summons was received by mail), or ajudgment by default may be rendered against
you for the relief demanded by plaintiff

if you have a claim for relief against the plaintiff arising from the same transaction or occurrence,
you must assert it in your written answer.

if you need the name of an attorney, you may contact the indianapolis Bar Association Lawyer
Referral Service (269-2222), or the i\/iarion County Bar Association Lawyer Referral Service (634-3950).
7/23/20'18 5~~;‘ ., 1 it 5 ,:,.i § vt 2
Dated: » ' f j,_; ~» v y .
Clerk, i\/larion County Courts
(The following manner of Service of Summons is hereby designated.)

X Registered or Ceitified i\/iail
Service on individual
Service at place of employment, to wit:
Private Service
Allorneysfor P[al`mi'ffs

 

/s/ Je!frey D. Clafiin Plews Shadley Racher & Braun
1346 North Delaware Street
indianapolis, indiana 46202-2415
(317) 637-0700 Phone; (317) 637-0710 Fax

 

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 15 of 29 Page|D #: 21

SHERIFF'S RETURN ON SERVICE OF SUMMONS

i hereby certify that i have served this summons on the day of ,
2018.

(l) By delivering a copy of the Summons and a copy ofthe complaint to the
defendant, .
(2) By leaving a copy ofthe Summons and a copy ofthe complaint at
, which is the dwelling place or usual place of abode of
and by mailing a copy of said summons to
» said defendant at the above address.
(3) Other service or remarks:

 

 

 

 

Sheriff` s Cost Sheriff
CLERK'S CERTIFICATE OF MAILING
l hereby certify that on the day of , 2018 i mailed a copy of

this Summons and a copy of the complaint to the defendant, , by
certified mail, requesting a return receipt, at the address furnished by the plaintiff

 

 

Clerk, i\/iarion County Superior Court

Dated: , 2018. By:

 

Deputy
RETURN ON SERVICE OF SUMMONS BY MAIL

i hereby certify that the attached return receipt was received by me showing that the

 

Summons and a copy of the complaint mailed to defendant was
accepted by the defendant on the day of , 2018.

i hereby certify that the attached return receipt was rcccivcd by mc showing that the

Summons and a copy of the complaint was returned not accepted on the day of
, 2018.

i hereby certify that the attached return receipt was received by me showing that the
Summons and a copy ofthe complaint mailed to defendant was
accepted by on behalf of said defendant on the day of

, 2018.

 

Clerk, i\/iarion County Superior Court

By:

 

Deputy

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 16 of 29 Page|D #: 22

 

 

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Myia A. Eidridge
Marion Superior Court, Civi| Division 1 Cierk
Marion County, indiana
STATE OF iNDlANA ) lN THE MARlOi\l SUPERI()R
) SS: COMMERCIAL COURT
COUNTY Oi? MARION ) CAUSE NO.
VECTREN CORPORATION and )
SOUTliERN iNDlANA GAS & )
ELECTRIC COMPANY, )
)
Plaintiffs, )
)
v. )
)
ASSOCIATED ELECTRIC & GAS )
iNSURANCE SERVICES i./iMiTED, and )
ALLS'i`A'i`E lNSURANCl§ COMI)ANY_. )
as successor-in-intercst to NORTi-iBROOK EXCESS )
AND SURPLUS iNSURANCE COMPANY )
l"/k/a NORTHBROOK iNSURANCE COMPANY, )
)
Defendants. )
TO DEFENDANT: (Name) Associated Electric & Gas insurance Services Limited
Address c/o LeBoeuf, Lamb, Leiby & MacRae

 

140 Broadway
New York, NY 10005

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. it
also states the relief sought or the demand made against you by the plaintiff

An answer or other appropriate response in writing to the complaint must be filed either by you or
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if you have a claim for relief against the plaintiff arising from the same transaction or occurrence,
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if you need the name of an attorney, you may contact the indianapolis Bar Association Lawyer
Referral Service (269-2222), or the i\/iarion County Bar Association Lawyer Referral Service (634-3950).

7/23/2018 “’ firm t tr tL/~/.;-;. § .»

5

Dated: :1¢ 1 ii
Clerk, Marion County Courts
(The following manner of Service of Summons is hereby designated.)

X Registered or Ceitified 1\/iaii

Service on individual

Service at place of employment, to wit:

Private Service
Altorneys for P/ainti`/j{`s

/s/ Je;§‘rei) D. C!a/Iin Plews Shadley Racher & Braun

1346 North Delaware Street
indianapolis, indiana 46202-2415
(317) 637-0700 Phone; (317) 637-0710 i~`ax

 

 

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 17 of 29 Page|D #: 23

SHERIFF'S RETURN ON SERVICE OF SUMMONS

i hereby certify that i have served this summons on the day of ,
2018.

(1) By delivering a copy ofthe Summons and a copy ofthe complaint to the
defendant, .
(2) By leaving a copy ofthe Summons and a copy ofthe complaint at
, which is the dwelling place or usual place of abode of
and by mailing a copy of said summons to
said defendant at the above address
(3) Other service or remarks:

 

 

 

 

Sheriff`s Cost Sheriff
CLERK'S CERTIFICATE OF MAILING
i hereby certify that on the day of , 2018 i mailed a copy of

this Summons and a copy of the complaint to the defendant, , by
certified mail, requesting a return receipt, at the address furnished by the plaintiff

 

 

Clerl<, i\/iarion County Superior Court

Dated: , 2018. By:

 

Deputy
RETURN ON SERVICE ()F SUMM()NS BY MAIL

i hereby certify that the attached return receipt was received by me showing that the

 

 

Summons and a copy ofthe complaint mailed to defendant was
accepted by the defendant on the day of , 2018.

i hereby certify that the attached return receipt was received by me showing that the

Summons and a copy of the complaint was returned not accepted on the day of
, 2018.

i hereby certify that the attached return receipt was received by me showing that the
Summons and a copy of the complaint mailed to defendant was
accepted by on behalf of said defendant on the day of

, 2018.

 

Clerk, i\/larion County Superior Court

By:

 

Deputy

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 18 of 29 Page|D #: 24

49D01_1807_P[__028866 Ftled: 7/20/2018 4:18 PM
Myia A, E|dridge
Marion Superior Court, Civi| Division 1 Cierk
Marion County, indiana
S'i`/\TE Oi~` iNDlANA ) lN 'i`HE i\/lARiON SUPERIOR
) SS: COMMERCIAL COURT
COUNTY Ol3 MARION ) CAUSE NO.

 

VECTREN CORPORATION and
S()UTHERN iNDiANA GAS &
ELECTRIC COMI’ANY,

Plaintiffs,
v.

ASSOCIATED ELECTRIC & GAS

iNSURANCE SERVICES i./ii\/li'i`ED, and
ALLSTATE iNSURANCE COMPANY,

as successor-in-interest to NORTHBROOK EXCESS
AND SURPLUS iNSURANCE COl\/IPANY

f/k/a NORTHBROOK iNSUR/-\NCE COi\/ii)/-\NY,

Defendants.

vvv\_/~VVV\_/v\_/\_/\_/V\./\./\_/

TO DEFENDANT: (Name) Associated Electric & Gas insurance Services Limited
Address Managing General Agency
34 Exchange Piace, Harborside Plaza Two
Jersey City, New Jersey 07302

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. it
also states the relief sought or the demand made against you by the plaintiff

An answer or other appropriate response in writing to the complaint must be filed either by you or
your attorney, within twenty (20) days, commencing the day after you receive this Summons, (or twenty-
three (23) days if this Summons was received by mail), or ajudgment by default may be rendered against
you for the relief demanded by plaintiff

if you have a claim for relief against the plaintiff arising from the same transaction or occurrence,
you must assert it in your written answer.

if you need the name of an attorney, you may contact the indianapolis Bar Association Lawyer
Referral Service (269-2222), or the i\/iarion County Bar Association Lawyer Referral Service (634-3950).

7/23/2018 ij ita tit fair/fu tip
Dated: f §

 

Cleri<, Marion County Courts
(The following manner of Service of Summons is hereby designated.)

X Registered or Certified i\/iail
Service on individual
Service at place of employment, to wit:

Private Service
Attorneyis' for Plainliffs

 

/s/ Jef}‘/"@i/D. C/a/Iin Plews Shadley Racher & Braun
1346 North Delaware Street
indianapolis, indiana 46202-2415
(317) 637~0700 Phone; (317) 637-0710 Fax

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 19 of 29 Page|D #: 25

SHERIFF'S RETURN ON SERVICE OF SUMMONS

i hereby certify that i have served this summons on the day of ,
2018.

(1) By delivering a copy ofthe Summons and a copy ofthe complaint to the
defendant, .
(2) By leaving a copy ofthe Summons and a copy of the complaint at
, which is the dwelling place or usual place of abode of
and by mailing a copy of said summons to
said defendant at the above address.
(3) Other service or remarks:

 

 

 

 

Sheriffs Cost Sheriff
CLERK'S CERTIFICATE OF MAILING
i hereby certify that on the day of , 2018 i mailed a copy of

this Summons and a copy of the complaint to the defendant, , by
certified mail, requesting a return receipt, at the address furnished by the plaintiff

 

 

Clerk, l\/larion County Superior Court

Dated: , 2018. By:

 

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Cierk, Marion County Superior Court

By:

 

Deputy

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 20 of 29 Page|D #: 26

49001_1807_}3|__028866 Fiied: 7/20/2018 4:18 PM
Myia A. Eidridge
Marion Superior Court, Ctvil Dtvision 1 Cierk
Marton County, indiana
S'i`ATE OF iNDlANA ) lN THE MARION SUPERIOR
) SS: COi\/Ii\/IERCIAL COURT
COUNTY ()F MARION ) CAUSE NO.

 

VECTREN CORPORATION and
SOUTl-iERN li\li)lAi\lA GAS &
ELECTRlC COMPANY,

Plaintiffs,
v.

ASSOCiATED ELECTRiC & GAS

lNSURANCE SERVICES LlMlTED, and
ALLS'l`/»\TE iNSURANCE COMPANY,

as successor-in-interest to NORTHBROOK EXCESS
AND SURPLUS iNSURANCE COMI)ANY

f/l</a NORTi-iBROOK iNSURANCE COMPANY,

Defendants.

V\_/\./Vv'vv\/\_/V\/\/\./\_/\/\./

TO DEFENDANT: (Name) Allstate insurance Company
Address CT Corporation System
150 W. i\/larl<et Street, Suite 800
indianapolis, iN 46204-2814

 

 

 

 

You are hereby notified that you have been sued by the person named as plaintiff and in the Court
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7/23/2018 f t , {'t .?j z,»:;,,_t __
Dated: / " §§ ' ‘ ` " jt
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(The following manner of Service of Summons is hereby designated.)

 

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Service on individual
Service at place of employment, to wit:
Private Service
Altol'neysf()r Plailili`f]@

 

/s/ Jef/i'ev D. Cla/Zin Plews Shadley Racher & Braun
1346 North Delaware Street
indianapolis, indiana 46202-2415
(317) 637-0700 Phone; (317) 637-0710 Fax

 

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 21 of 29 Page|D #: 27

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and by mailing a copy of said summons to
said defendant at the above address
(3) Other service or remarks:

 

 

 

 

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Clerk, l\/iarion County Superior Court

By:

 

Deputy

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 22 of 29 Page|D #: 28

Filed: 8/7/2018 5:01 PM
Myia A. E|dridge

Cierk

Marion County, indiana

sTATE or iNDiANA ) in ruiz MARioN couNTY suPERioR couRT
) ss;
COUNTY or MARioN ) cAusE No. 491)01-1807-1>11-028866

VECTREN CORPC)RATION and
SOUTHERN iNDiANA GAS &
ELECTRIC COMPANY,

V.

ASSOCIATED ELECTRIC & GAS
ii\iSURANCE SERViCES Lii\/iiTED and
ALLSTATE iNSURANCE COMPANY,
as successor-in-interest to NORTHBROOK
EXCESS AND SURPLUS iNSURANCE
COMPANY f/k/a NORTHBROGK
iNSURANCE CGMPANY,

l.

Plaintiffs,

\_/\/V\_/\/V\/\/V\_/V\/V\./V\_/\/

Defendants.
E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

The party on whose behalfthis form is being filed is:
initiating Responding X intervening ; and

the undersigned attorney and all attorneys listed on this form now appear in this case for the
following parties:

Name: Allstate Insurance Company, solely as successor in interest to
Northbrook Excess and Surplus Company, formerly known as
Northbrook Insurance Company

Attorney information for service as required by Trial Rule 5(B)(2)

Name: Dennis F. Cantreli

Attorney # 10794-49

E~Mail: dcantreii@csmlawfirm.com

Address: CANTRELL, STRENSKl & MEHRiNGER, LLP
150 West Market Street Phone: (317) 352-3500
Suite 800 Fax: (317) 352-3501
Indianapoiis, IN 46204

IMPORTANT: Each attorney specified on this appearance:
(a) certifies that the contact information listed for him/her on the indiana Supreme
Court Roll ofAttorneys is current and accurate as ofthe date ofthis Appearance;

Case 1:18-cv-O2548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 23 of 29 Page|D #: 29

(b) acknowledges that ali orders, opinions, and notices from the court in this
matter that are served under Triai Rule 86(G) will be sent to the attorney at
the emaii address(es) specified by the attorney on the Roli of Attorneys
regardless of the contact information listed above for the attorney; and

(c) understands that he/she is solely responsible for keeping his/her Roll of Attomeys
contact information current and accurate, see lnd. Admis. Disc. R. 2(A).

Attorneys can review and update their Roll of Attomeys contact information on the Courts
Portal at http://poital,courts.hi.po\-".

3. This is a civil tort case type as defined in administrative Rule 8(B)(3).

4. This case involves child support issues. Yes No X (Ifyes, supply social security
numbers for all family members on a separately attached document filed as confidential
information on light green paper. Use Form T CM-T R3. 1 -4. )

5. This case involves a protection from abuse order, a workplace violence restraining order, or a
no - contact order. Yes _ No __X_ (Ifi’es, the initiating party must provide an address
for the purpose of legal service but that address should not be one that exposes the
whereabouts of a petitioner ) The party shall use the following address for purposes of legal

 

service:
Attorney’s address
The Attorney General Confidentiality program address
(contact the Attorney General at 1-800-321-1907 or e-mail address is
confidential@atg.in.gov).
Another address (provide)
This case involves a petition for involuntary commitment Yes No §

6. iers above, provide the following regarding the individual subject to the petition for
involuntary commitment

a. Name of the individual subject to the petition for involuntary commitment ifit is not
already provided in #1 above:

 

b. State of Residence of person subject to petition:
c. At least one ofthe following pieces of identifying information:
(i) Date ofBirth

(ii) Driver’s License Number

 

State where issued Expiration date

(iii) State iD number

 

Case 1:18-cv-02548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 24 of 29 Page|D #: 30

State where issued

(iv) FBi number

Expiration date

 

(v) indiana Department of Corrections Number

 

(vi) Social Security Number is available and is being provided in an attached confidential

document Yes No

7. There are related cases: Yes No X ([fyes, list on continuation page.)

8. Additional information required by local rule:

 

9. There are other party members: Yes No X (Ifyes, list on continuation page.)

10. This form has been served on all other parties and Certificate of Service is attached:

Yes X Nom__

CANTRELL STRENsi<i & MEHRINGER LLP
150 West Market Street, Suite 800
indianapolis, ii\l 46204

Phone: (317) 352-3500

Fax: (317) 352-3501

Email: dcantrell@csmlawfirm.com

Respectfully submitted,

/s/ Dennis F. Cantrell
Dennis F. Cantrell, # 10794-49

Attorney/for Defendant, Allstate Insurance Company,
solely as successor in interest to Northl)rook Excess
and Surplus Conipany, formerly known as Northl)rook
Insurance Company

Case 1:18-cv-02548-RLY-|\/|.]D Document 1-1 Filed 08/17/18 Page 25 of 29 Page|D #: 31

CERTIFICATE ()F SERVICE

i hereby certify that on August 7, 2018, a copy of the foregoing was filed electronically.
Notice ofthis filing will be sent to the following parties by operation ofthe Court’s electronic filing
system and/or first class U.S. Mail, postage prepaid:

George 1\/1. Plews

Gregory i\/i. Gotwald

Steven A. Baidwin

PLEWS SHADLEY RACHER & BRAUN
1346 North Delaware Street
lndianapolis, iN 46202-2415

ieffrey D. Clafiin

PLEWS SHADLEY RACHER & BRAuN
53732 Generations Drive

South Bend, lN 46635

/s/ Dennis F. Cantre[l
Dennis F. Cantrell

SGaBeuiy.l$As/@®s%48-RLY-I\/|.]D Document 1-1 Filed 08/17/18 Page 26 of 29 Pag§ta@e#t 624

This is not the official court record. Official records of court proceedings may only
be obtained directly from the court maintaining a particular record.

Vectren Corporation, Southern Indiana Gas 8 Electric Company v. Associated Eiectric 8
Gas Insurance Services Limited, Allstate insurance Company

Case Number 49001-1807-PL-028866

Court i\/iarion Superior Court, Civii Division 1
Commerciai Court (Provisionai)

Type PL ~ Civii Pienary
Fiied 07/20/2018
Status 07/20/2018 , Pending (active)

Parties to the Case

Defendant Associated Eiectric & Gas insurance Sen/ices Limited

Defendant Allstate insurance Company

Attorney Dennis Forest Cantreii
#7079449, /?eta/'ned

150 West Market Street
Suite 800

indianapolis iN 46204»2982
317-352~3500(VV)

Piaintift Vectren Corporation

Attorney George i\/i. Plews
#627449, Lead Reta/`ned

1346 N. Delaware Street
indianapolis, |N 46202-0000
317-637-0700(W)

Attorney Steven Aie><ander Baidwin
#3449849, Reta/'nea'

1346 N Delaware ST
indianapolisl |N 46202

Attorney jeffrey Dean Clafiin
#75 73649, /~?eta/'ned

53732 Generations DR
South Bend, iN 46635
574~273-1010(W)

Attorney Gregory i\/iichaei Gotwald
#2497 749, Reta/`nea'

1346 North Delaware St.
indianapolis iN 46202
317-637-0700(W)

Piaintiff Southern indiana Gas & Eiectric Company

https://public.courts.in.gov/mycase/ 8/16/2018

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Attorney George i\/i. Plews

#627449, Lead, Reta/'neo'

1346 N. Delaware Street
indianapolis iN 46202»0000
317-637-0700(W)

Attorney Steven Aie)<ander Baidwin

#3449849, Reta/'nea’

1346 N Delaware ST
indianapolis iN 46202

Attorney jeffrey Dean Ciaf|in

#7573649, Ret‘a//iea'

53732 Generations DR
South Bend, iN 46635
574-273-1010(W)

Attorney Gregory Mlchael Gotvvaid

#2497 749, Reta/`ned

1346 North Delaware St.
indianapolis iN 46202
317‘637-0700(W)

Chronoiogicai Case Summary

07/20/2018

07/23/2018

07/23/2018

07/23/2018

07/23/2018

Case Opened as a New Fiiing

Appearance Fiied
Appearance by Attomeys in Civii Case

For Party: Vectren Corporation
For Party: Southern indiana Gas & Eiectric Company
Fi|e Stamp: 07/20/2018

Compiaint/Equivaient Pieading Filed
Compiaint for Damages and Dec|aratory Reiief

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & Eiectric Company
File Stamp: 07/20/2018

Commerciai Court identifying Notice
Notice identifying Commerciai Court Doci<et Case

Fiied By: Vectren Corporation
Filed By: Southern indiana Gas & Eiectric Company
Fiie Starnp: 07/20/2018

Subpoena/Summons Ft|ed
Summons to AEGiS (Meadovviands)

Filed By: Vectren Corporation
Filed By: Southern indiana Gas & Eiectric Company
Fiie Stamp: 07/20/2018

https://public.courts.in. gov/mycase/

Page 27 of 29 Pagpe'fi$i#:@?»"'

8/16/2018

St(iial$@r¥:£l_M§Z@MBA,S-RLY-l\/|JD DOCument 1-1 Fiied 08/17/18

07/23/2018 Subpoena/Summons Fiied
Summons to AEG|S (c/o Drinker Biddie)

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & Eiectric Company
File Stamp: 07/20/2018

07/23/2018 Subpoena/Summons Fiied
Summons to AEGiS (c/o t.eBoeut Larnb)

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & E|ectric Company
Fi|e Stamp: 07/20/2018

07/23/2018 Subpoena/Summons Fiied
Summons to AEG|S (Managing Generai Agency)

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & Eiectric Company
Fiie Stamp: 07/20/2018

07/23/2018 Subpoena/Summons Fiied
Summons to Allstate

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & Eiectric Company
Fiie Starnp: 07/20/2018

07/24/2018 Certificate of issuance of Summons
Certificate of issuance of Summons to Defendants

Fiied By: Vectren Corporation
Fiied By: Southern indiana Gas & Eiectric Company
Fiie Stamp: 07/23/2018

08/08/2018 Appearance Fiied
E-Fi|ing Appearance by Attorney in Civi| Case

For Party: Allstate insurance Company
Fi|e Stamp: 08/07/2018
Financiai Inforrnation

Page 28 of 29 Pagleii§¢h 344

* Financiai Baiances reflected are current representations of transactions processed by the Cieri<'s thce. Piease note that any

balance due does not reflect interest that has accrued ~ if applicable - since the last payment For questions/concerns regarding

balances shown, please contact the Cieri<'s Ofi'"lce.

Vectren Corporation
Piaintiff

Baiance Due (as er 08/16/2018)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

0.00
Chai€@ Summt"iiy , ,
Description Amount Credit Payment
C5ourt Costs and Fiiing Fees 157.00 0.00 157.00
T_ransaction Surnmary ,,,,,,,
Date Description Amount
§ 07/23/2018 Transaction Assessment 157.00
107/23/2018 Eiectronic Payment (157.00)

https://public.courts.in.gov/mycase/ 8/16/2018

snasei:y:late€nes¢ie-RLY-MJD Documem 1-1 Fiied 03/17/13 Page 29 of 29 Pag%zig)€#i 984

This is not the official court record. Official records of court proceedings may only
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https://public.courts.in.gov/mycase/ 8/16/2018

